Case: 2:24-cv-00144-MHW-EPD Doc #: 38-5 Filed: 06/28/24 Page: 1 of 2 PAGEID #: 752




                        Exhibit D
      Case: 2:24-cv-00144-MHW-EPD Doc #: 38-5 Filed: 06/28/24 Page: 2 of 2 PAGEID #: 753


Silverman, Brittany

From:                                                                        postmaster
Sent:                                                                        Thursday, March 28, 2024 4:32 PM
To:                                                                          Brown, Kathryn M.
Subject:                                                                     An email message you sent could not be delivered



           An em ail y ou sent could not be delivered.




                                                                                                                             Technology
                                                         An email message you sent could not be delivered
                                                         There has been a problem sending your recent email to annadmca@proton.me. This email
                                                         could not be delivered.
                                                         What you should do
                                                         Check that the email address you used is correct and up to date. In some cases, there may
                                                         be a problem with the recipient's email system that prevents them from receiving email
                                                         from us. The Problem and Further Information below may help identify the problem.
                                                         You may want to try sending the email again. If the message is time-sensitive, you should
                                                         consider other methods of communication.
                                                         If you sent this message to multiple addresses, you will receive a notification like this for
                                                         every one that couldn't be delivered.
                                                         Problem: Recipient mailbox is full
                                                         Further information: 5.2.2 <annadmca@proton.me>: Recipient address rejected: Mailbox
                                                         quota exceeded



                                                         For more information about this notification, please contact IT Support on x520 3445.




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